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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ROSS STEWART,                                       )
                                                    )        Case No. 1:18-cv-05496
                Plaintiff,                          )
                                                    )        Judge: Thomas M. Durkin
v.                                                  )
                                                    )        Magistrate Judge: M. David Weisman
ATLANTIC CREDIT & FINANCE, INC.,                    )
                                                    )
                Defendant.                          )

                   UNOPPOSED MOTION FOR EXTENSION OF TIME

        Defendant, ATLANTIC CREDIT & FINANCE, INC. (“Defendant” or “ACF”), by and

through its attorneys David M. Schultz and Lindsey A.L. Conley of Hinshaw & Culbertson LLP,

and for its First Unopposed Motion for a 21-Day Extension of Time to answer or otherwise plead

to Plaintiff’s Complaint, states as follows:

        1.      This case involves alleged violations of the Fair Debt Collection Practices Act, 15

U.S.C. §1692, et seq. (FDCPA).

        2.      Defendant was served with the Complaint on August 14, 2018. The responsive

pleading is due on September 4, 2018.

        3.      Defendant recently retained defense counsel who has filed Appearances concurrently

with the instant motion. Defendant needs additional time to investigate Plaintiff’s claims before

filing a responsive pleading to the complaint.

        4.      Defendant respectfully requests a (21) twenty-one day enlargement of time of the

pleading deadline, up to and including September 25, 2018.

        5.      Defense counsel has contacted the Plaintiff’s counsel about the instant motion,

seeking a 21-day extension. Plaintiff’s counsel does not oppose a 21-day enlargement of time up to

and including September 25, 2018.




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        6.      This time is not meant for purposes of unnecessary delay and will not prejudice any

party in the litigation. This time is necessary to pursue resolution of this matter, analyze the pleading,

and prepare the appropriate response to the Complaint.

        WHEREFORE, Defendant, ATLANTIC CREDIT & FINANCE, INC., respectfully

requests that this Court grant it an enlargement of time up to and including September 25, 2018, to

file responsive pleadings to Plaintiff’s Complaint.


                                                          Respectfully submitted,

                                                          HINSHAW & CULBERTSON LLP

                                                          /s/Lindsey A.L. Conley
                                                          David M. Schultz
                                                          Lindsey A.L. Conley
                                                          Hinshaw & Culbertson LLP
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                                CERTIFICATE OF SERVICE

        I, Lindsey A.L. Conley, an attorney, certify that I shall cause to be served a copy of
DEFENDANT’S MOTION FOR EXTENSION OF TIME upon the following individual(s),
by deposit in the U.S. mail box at 151 North Franklin Street, Chicago, Illinois 60606, postage
prepaid, messenger delivery, Federal Express, facsimile transmitted from (312) 704-3001, or
electronically via the Case Management/Electronic Case Filing System (“ECF”) as indicated, this on
September 4, 2018.

_X_    CM/ECF                                     Attorneys for Plaintiff(s)
___    Facsimile                                  John P. Carlin
___    Federal Express                            SUBURBAN LEGAL GROUP, P.C.
___    E-Mail & U.S. Mail                         1305 Remington Road, Suite C
___    Messenger                                  Schaumburg, IL 60173
                                                  jcarlin@suburbanlegalgroup.com



David M. Schultz                                  /s/ Lindsey A.L. Conley
Lindsey A.L. Conley                               Lindsey A.L. Conley
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